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                                    UNITED STATES DISTRICT COURT
                                              FOR THE
                              NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

FedEx Supply Chain Logistics & Electronics Inc              §
                                                            §
                        Plaintiff,                          §
VS.                                                         §                                  CAUSE NO. 3:23-cv-02397-S
                                                            §
Goodman, et al.                                             §
                       Defendant.                           §


                                               AFFIDAVIT OF SERVICE

"The following came to hand on Nov 10, 2023, 12:00 pm,

                                                  Summons, Complaint

and was executed at 9204 Eddy Cove, Austin, TX 78735 within the county of Travis at 02:47 PM on Wed, Nov 22 2023, by
delivering a true copy to the within named

                                     JAMES "JIM" NICHOLAS FRINZI, JR.
 Address confirmed and documents accepted by subjects grandson who appeared to be over 18 and confirmed he
                                              resided there.

in person, having first endorsed the date of delivery on same.

I am a person over eighteen (18) years of age and I am competent to make this affidavit. I am a resident of the State of
Texas. I am familiar with the Texas Rules of Civil Procedure as they apply to service of Process. I am not a party to this
suit nor related or affiliated with any herein, and have no interest in the outcome of the suit. I have never been
convicted of a felony or of a misdemeanor involving moral turpitude. I have personal knowledge of the facts stated
herein and they are true and correct."

My name is Corin Johnson, my date of birth is 2/5/1983, and my address is 500 E. 4th St. #143, Austin, TX 78701 , and
United States of America. I declare under penalty of perjury that the foregoing is true and correct.

Executed in Travis County, State of TX, on November 26, 2023.




                                                                Corin Johnson
                                                                Certification Number: PSC-5625
                                                                Certification Expiration: 9/30/2024
